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                        8                                                 Email: ariel.stern@akerman.com
                              Receivable Fund, LP
                        9

                      10                        IN THE UNITED STATES BANKRUPTCY COURT

                      11                                 FOR THE DISTRICT OF NEVADA

                      12      In re:                                         Case No. 21-14486-abl

                      13      INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                              dba INFINITY HEALTH CONNECTIONS,
                      14
                                                   Debtor.
                      15                                                     Adversary Case No. 21-01167-abl
                              HASELECT-MEDICAL RECEIVABLES
                      16      LITIGATION FINANCE FUND
                              INTERNATIONAL SP,
                      17                                                    FIFTH AMENDED NOTICE OF
                                                   Plaintiff,               TAKING DEPOSITION OF DEBBIE
                      18                                                    GRIFFIN
                              v.
                      19
                              TECUMSEH–INFINITY MEDICAL
                      20      RECEIVABLES FUND, LP,
                                                   Defendant.
                      21

                      22      HASELECT-MEDICAL RECEIVABLES
                              LITIGATION FINANCE FUND
                      23      INTERNATIONAL SP, et al.,

                      24                           Counter-Claimant,
                              v.
                      25
                              TECUMSEH–INFINITY MEDICAL
                      26      RECEIVABLES FUND, LP, et. al.,
                      27                           Counter-Defendants.
                      28
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
      725-777-3000
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                        1                              FIFTH AMENDED NOTICE OF TAKING
                                                         DEPOSITION OF DEBBIE GRIFFIN
                        2

                        3            PLEASE TAKE NOTICE that on the 1st day August 2023, beginning at 10:00 a.m.

                        4     (Pacific), Defendant/Counterclaim Plaintiff/Counter Defendant Tecumseh–Infinity Medical

                        5     Receivables Fund LP (“Tecumseh”), by and through their counsel, Garman Turner Gordon, LLP,

                        6     will take the deposition of Debbie Griffin, pursuant to Rules 26 and 30 of the Federal Rules of

                        7     Civil Procedure, made applicable to the above-captioned case pursuant to Rules 7026 and 7030,

                        8     before a Notary Public, or before some other officer authorized by the law to administer oaths. The

                        9     deposition will be conducted via zoom.

                      10             Oral examination, if not completed on the specified date, will continue from day to day

                      11      excluding Sundays and Holidays, until completed. The testimony of the deposition will be

                      12      recorded via video and stenographic means.

                      13             DATED this 20th day of July 2023.
                      14                                                   GARMAN TURNER GORDON LLP
                      15                                                   By: /s/ Jared Sechrist
                                                                              GERALD M. GORDON, ESQ.
                      16
                                                                              JARED SECHRIST, ESQ,
                      17                                                      7251 Amigo St., Suite 210
                                                                              Las Vegas, Nevada 89119
                      18                                                           and
                                                                              MICHAEL D. NAPOLI, ESQ.
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                                                                               Attorneys for Tecumseh–Infinity Medical
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      725-777-3000                                                            2
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                        1                                   CERTIFICATE OF SERVICE

                        2       1. On July 20, 2023, I served the following document(s): FIFTH AMENDED NOTICE OF
                                   TAKING DEPOSITION OF DEBBIE GRIFFIN
                        3

                        4       2. I served the above-named document(s) by the following means to the persons as listed
                                   below:
                        5
                                                          ECF System:
                        6
                                   CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                        7          clarisse@nv-lawfirm.com; bknotices@nv-lawfirm.com
                        8          BART K. LARSEN on behalf of HASELECT-MEDICAL RECEIVABLES
                        9          LITIGATION FINANCE FUND INTERNATIONAL SP
                                   blarsen@shea.law; kwyant@shea.law;
                      10
                                   I declare under penalty of perjury that the foregoing is true and correct.
                      11
                                   DATED this 20th day of July 2023.
                      12
                                                                                 /s/ Tonya Binns
                      13                                                         an employee of
                                                                                 GARMAN TURNER GORDON LLP
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